Case: 18-2203 Document:2-2 Page:1 Filed: 08/31/2018

FORM 8. Entry of Appearance Form 8
Rev. 03/16

UNITED STATES COURT OF APPEALS FOR THE FEDERAL CIRCUIT

EDWARD THOMAS KENNEDY V. JOSEPH N. HANNA, et al.

No. 18-2203

ENTRY OF APPEARANCE

(INSTRUCTIONS: Counsel should refer to Federal Circuit Rule 47.3. Counsel must immediately file
an updated Entry of Appearance if representation changes, including a change in contact information.
Electronic filers must also report a change in contact information to the PACER Service Center. Pro se
petitioners and appellants should read paragraphs 1 and 18 of the Guide for Pro Se Petitioners and
Appellants. File this form with the clerk within 14 days of the date of docketing and serve a copy of it
on the principal attorney for each party.)

Please enter my appearance (select one):

["] Pro Se [¥ As counsel for: PHILLIPS ARMSTRONG, COUNTY OF LEHIGH, JOSEPH
N. HANNA, JOHN DQE HAND yQHN DOE 2

I am, or the party I represent is (select one):
[_] Petitioner (_] Respondent [] Amicus curiae _] Cross Appellant

(] Appellant [x Appellee [|] Intervenor

As amicus curiae or intervenor, this party supports (select one):

[-] Petitioner or appellant [] Respondent or appellee
Name: David M. Backenstoe, Esquire
Law Firm: Lehigh County Department of Law
Address: 17 South Seventh Street
City, State and Zip: Allentown, PA 18101
Telephone: 610-838-2255
Fax #: 610-838-2244
E-mail address: dmbesq@ptd.net

Statement to be completed by counsel only (select one):

&} I am the principal attorney for this party in this case and will accept all service for the party. I
agree to inform all other counsel in this case of the matters served upon me.

[-] I am replacing as the principal attorney who will/will not remain on

the case. [Government attorneys only.]

(-] I am not the principal attorney for this party in this case.

Date admitted to Federal Circuit bar (counsel only): Exempt - Fed Cir R 46(d)
This is my first appearance before the United States Court of Appeals for the Federal Circuit (counsel
only): [> Yes [1] No

[7] A courtroom accessible to the handicapped is required if oral argument is scheduled.

Date — august20, 2018 Signature of pro se or counsel Daf YL Backenatoc

Cc.

; _ Reset Fields

